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2    DAVID M. PORTER, Bar #127024
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     JAIME RIOS VIZCARRA
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. S 02-48 MCE
12                             Plaintiff,                STIPULATED MOTION AND ORDER TO
                                                         REDUCE SENTENCE PURSUANT TO 18
13             v.                                        U.S.C. § 3582(c)(2)
14   JAIME RIOS VIZCARRA,                                RETROACTIVE DRUGS-MINUS-TWO
                                                         REDUCTION CASE
15                             Defendant.
                                                         Judge: Honorable MORRISON C. ENGLAND, Jr.
16
17             Defendant, JAIME RIOS VIZCARRA by and through his attorney, Assistant Federal
18   Defender David M. Porter, and plaintiff, UNITED STATES OF AMERICA, by and through its
19   counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On February 24, 2004, this Court sentenced Mr. Vizcarra to a term of 188 months

25   imprisonment on each of Counts 1, 2, 3 and 4, to be served concurrently for a total term of 188

26   months;

27             3.         His total offense level was 36, his criminal history category was I, and the

28   resulting guideline range was 188 to 235 months;

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1              4.         The sentencing range applicable to Mr. Vizcarra was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Mr. Vizcarra’s total offense level has been reduced from 36 to 34, and his
5    amended guideline range is 151 to 188 months; and,
6              6.         Accordingly, the parties request the Court enter the order lodged herewith
7    reducing Mr. Vizcarra’s term of imprisonment to a term of 151 months.
8    Respectfully submitted,
9    Dated: November 3, 2014                            Dated: November 3, 2014
10   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
11
12    /s/ Jason Hitt                                    /s/ David M. Porter
     JASON HITT                                         DAVID M. PORTER
13   Assistant U.S. Attorney                            Assistant Federal Defender
14   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           JAIME RIOS VIZCARRA
15
16                                                     ORDER
17             This matter came before the Court on the stipulated motion of the defendant for reduction
18   of sentence pursuant to 18 U.S.C. § 3582(c)(2).
19             The parties agree, and the Court finds, that Mr. Vizcarra is entitled to the benefit
20   Amendment 782, which reduces the total offense level from 36 to 34, resulting in an amended
21   guideline range of 151 to 188 months.
22             IT IS HEREBY ORDERED that the term of imprisonment imposed in February 2004 is
23   reduced to a term of 151 months.
24             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
25   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
26   reduction in sentence, and shall serve certified copies of the amended judgment on the United
27   States Bureau of Prisons and the United States Probation Office.
28

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1              Unless otherwise ordered, Mr. Vizcarra shall report to the United States Probation Office
2    within seventy-two hours after his release.
3              IT IS SO ORDERED.
4
     DATED: November 18, 2014
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8                                                   _____________________________________________
                                                    MORRISON  N C. ENGLLAND, JR, C
                                                                                 CHIEF JUDG  GE
9
                                                    UNITED ST TATES DISSTRICT COU  URT
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     Stipulation and Order Re: Sentence Reduction              3
